Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 1 of 168




                     APPENDIX A
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 2 of 168




                     EXHIBIT 455
                     Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 3 of 168




Ider

       Name                                       Date modified             Type                  Size

                                                  5.,’6.,’2019 2:47 P M     Text D o u m ent             19 KB
                                                  5.K//2019 4:25 P M        Text D o u m ent              2 KB
                                                  5.,~./2019 1:15 P M       Text D o c u m ent            2 KB
                                                  5.#3/2019 10:42 AM        Text Document                 9 KB
                                                  5.,q_0./2019 10:13 AM     Text Document                 1 KB
                                                  _5.,q_1/2019 3:21 P M     Text D o u m ent              1 KB
                                                  5.,q_1/2019 10’.51 P M    Text D o u m ent              1 KB
                                                  5.,q_3/2019 4:51 P M      Text D o c u m ent            1 KB
                                                  5.,q_4/2019 12’.07 AM     Text Document                 1 KB
                                                  5.,q_5./2019 8:31 AM      Text Document                 1 KB
                                                  5.,q_6/2019 8:43 AM       Text Document                 1 KB
                                                  5.,q_8./2019 2’.06 AM     Text Document                 1 KB
                                                  5/20/2019 12:08 P M       Text D o u m ent              1 KB
                                                  5/20/2019 5’.30 P M       Text D o u m ent              1 KB
                                                  5/23/2019 9:14 AM         Text Document                 1 KB
                                                  5/24/2019 3:14 P M        Text D o u m ent              1 KB
                                                  5.."25.."2019 3:30 P M    Text D o c u m ent            5 KB
                                                  5/27/2019 11:10 AM        Text Document                 2 KB
                                                  5.."28.."2019 8’.23 AM    Text Document                 5 KB
                                                  5/29/2019 3:07 P M        Text D o c u m ent            1 KB
                                                  5.."30.."2019 1’.49 P M   Text D o u m ent              2 KB
                                                  5.."31.."2019 5:27 AM     Text Document                 1 KB
                                                  5/31/2019 6:48 P M        Text D o c u m ent            1 KB
                                                  6.."2/2019 2:46 P M       T ext D o u m ent             1 KB
                                                  6/3/2019 5:58 AM          Text Document                 1 KB
                                                  ~./4/2019 8’,42 AM        Text Document                 5 KB

       I,,                                        6/_5/2019 10’,49 AM       Text Document                24 KBI

       , i                                        6/6/2019 9’,07 AM         Text Document                 1 KB

       , ~ 2019-06-07olo                          0/6/2019 11’,20 P M       T ext D o c u m ent           1 KB




                                                                            U.S.v. Paige Thompson
                                                                            CR19-159 RSL
                                                                            Plaintiff’s Exhibit No. 455
                                                                            Admi tted
                                Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 4 of 168




85   07:27:~93 <erratic> ~’ii ~ £uck wi~h i~ la~er, llke Z said las~ nlgh~, so m~ch shi~, so m~cho no~ enough ~ima.
     07:30:27] <~rra~ic> I dunnc my friend said scm~hlng ~c m~ awhil~ back ~ gc~ m~ ~hinking abc~ carding ~ la~ly
8?   07:30:47] <~rra~ic> ~ algorithm shi~
88   0~:31:01] <~rra~ic> and c~h~r iss~anc~ characteristics
89
     °Oq:3q:4q]   <erratic> and emboss kits
     07:37:57]    <erratic> and a lot of other shit
     07:38:28]    <erratic> a poor ass white girl like me need those
     07:38:33]    <erratic> to go shopping




                                                                                                                455-002
                            Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 5 of 168




~194F~95.10g ~
 96   [07:53:40] <erratic>     --profile ~ ~ create-login-profile --~-input-~ file://create-login-profile.json
 97   [07:53:43] <erratic>
 9~   [07:53:46] <erratic>     "LoginProfile" : {
 99   [07:53:~8] <erratic>         "UserName": "default",
l~    [07:5Z:51] <erratic>         "CreateDate": "2019-06-05T07:52:
l~l   [07:53:53] <erratic>         "PasswordResetRequired": false
102   [07:53:56] <erratic>      ]
i~3   [07:53:58] <erratic>
lO~   [07:5~:01] <erratic> ~ ~ get-caller-identity --profile ~
      [07:5~:03] <erratic> { "UserId": "AIDAU55F6~VK~UXF~M!{", "Account": 4197", "~":
      "~:~:~::~39            7:user/default"
106   [07:5~:06] <erratic> }
107   [07:5~:09] <erratic> heh heh heh heh heh
10t   [07:5~:ii] <erratic>
109   [07:54:1~] <erratic> smells like bacon
!!0   [07:5~:2B] <erratic> anyone want a domain?
!!!   [07:5~:~4] <erratic> how about a storage gateway :D
!!2   [07:59:27] <erratic> how about.., a big fat ~.r4.1arge d~unp
!!3   [07:59:51] <erratic>




                                                                                                        455-003
                                  Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 6 of 168




[] 29194M~5.10~ []I
 118     [10:01:52] <erratic> I think if we all worked together we could turn a substantial number of the ~ rogue bots into our
         own outlet that would finance our projects
 119     [I0:02:36 <erratic> I do it all the time
 120     Ci0:02:@2 <erratic> just think of what we could do cellectivel~
 121     [i0:0~:3@
 122     C10:0@:25

                  <erratic> aeric~sly like

126   [10:05:27   <erratic> way worse ~han wha~ ~ ~ ~o~ arrested £cr initially
127   [10:05:41   <erratic> and that ~y made his whole f~ckinq career o£f hein~ a scene whore
128   [I0:05:S$   <erratic> RZ~ ~




                                                                                                                        455-004
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 7 of 168




                     EXHIBIT 461
                        Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 8 of 168




                                                                     log ~ erratic ~ EFN~ ~ nance




Name                                                         Date modified                   Type

I I I 2019-07-16,1c~g                                        7,"10/2019 9                    Text Document




                                                                             U.S.v. Paige Thompson
                                                                             CR19-159 RSL
                                                                             Plaintiff’s Exhibit No. 461
                                                                             Admi tted
                      Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 9 of 168
I.-12~1~.1~.1o~ []]




         [ll:~0:~7] <erra~ic> you’ll hav~ Zo apZ-g~ install ~or and ~
         [II:40:50] <ezza~xe> and ~-~

         [I1:41:30] <ezzaZ~> huZ you’ll ~ do something like
         [i1:41:~0] <erratic> alias ~="proxychalns~ ~"

        [i1:42:03] <~> Neat[
        [11:42:28] <erratic> https:i/te~in.comiZqn7 ~.~ if you need
        [i1:~3:13] <erratic> yeah ~ is great, except when someone steals your
        instance prafile that has full a~ess to the ~
        [i1:43:58] <erratic> you may have to edit ~ to get it to work right
        [ll:~:00] <errati:> sec
        [i1:44:53] <erratic> yeah I ~ have anything special in mine so ~ think all
        yeu getta do is apt-get install tot && ~ enable tot && ~ start
        tar
        [ii:46:17] <erratic> if you wanted to scrape ~ s3 buckets you ca~ do ..




        [i1:~7:10] <erratic> run that in a directory like scrapes and also change the
        n~e ~ to whatever you want, I usually use the company n~e that owns the

        [i1:47:32] <erratic>
        [i1:47:48] <erratic> yeah you’ll need ~ (apt-get i~stall ~) for that
        [ii:~7:59] <erratic> also gnu parallel (apt-get install parallel)
        [ii:48:57] <erratic> I would actually not rely on alias ~="proxychains4 ~"
        for that and rather change the two usages of ~ in that 1 liner to proxychains4
        ~ explicitly because the enviro~ent forks and it doesn’t copy the parent
        ~ have set -a or something
        [ii:50:~] <erratic> that will straight up mirror all of an accounts sZ b~ckets
        though which you’ll ~ make sure you have the ~ for
        [ii:51:~5] <~> Interesting. [’ii have to read ~ this more when I get to a
        proper ~
        [ii:51:~0] <~> Phone ~ sucks
        [ii:51:3~] <erratic> but yeah if yo~ just ~% use it to learn how to do some
        shit with ~ go for it its not my shit ~
        [II:51:3S] <erratic> no worries
        [ii:52:07] <~> I just legit need to learn AWS a~d s~ for work ~
        [ii:52:30] <~> ~ake the ~ ~ ops dudes feel threatened
        [ii:53:48] <erratic> definitely yeah go for it if you ~% use that account for
        practice, should be fine if you use tot e~e~ without ~ fucked with a lot of
        ~ accounts from my own address because most people don’t ha~e a fucking cl~e
        how to use logging


                                                                                           461-002
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 10 of 168




                      EXHIBIT 506
                  Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 11 of 168




Autofill (36)

Details                                                                                              Deleted

cardNurnber: 12726229                                   Tirnestarnp: 3/28/2019 2:58:42 AM(UTC-7)
Source: Chrome


cardNurnber: 12726229                                   Tirnestarnp: 3/28/2019 2:58:42 AM(UTC-7)
Source: Chrome


Lusername: josephbaleda                                 Tirnestarnp: 3/28/2019 2:57:19 AM(UTC-7)
Source: Chrome


Lusername: josephbaleda                                 Tirnestarnp: 3/28/2019 2:57:19 AM(UTC-7)
Source: Chrome


usernarne: josephbaleda                                 Tirnestarnp: 3/28/2019 2:56:45 AM(UTC-7)
Source: Chrome

usernarne: josephbaleda                                 Tirnestarnp: 3/28/2019 2:56:45 AM(UTC-7)
Source: Chrome

usernarne: joseph.baleda                                Tirnestarnp: 3/28/2019 2:56:39 AM(UTC-7)
Source: Chrome

usernarne: joseph.baleda                                Tirnestarnp: 3/28/2019 2:56:39 AM(UTC-7)
Source: Chrome


answer: pizza                                           Tirnastarnp: 3/28/2019 2:56:12 AM(UTC-7)
Source: Chrome


answer: pizza                                           Tirnestarnp: 3/28/2019 2:56:12 AM(UTC-7)
Source: Chrome

usernarne: joeybaleda                                   Tirnestarnp: 3/28/2019 2:56:12 AM(UTC-7)
Source: Chrome

usernarne: joeybaleda                                   Tirnestarnp: 3/28/2019 2:56:12 AM(UTC-7)
Source: Chrome


dobDay:                                                 Tirnestarnp: 3/28/2019 2:54:17 AM(UTC-7)
Source: Chrome


dobDay:                                                 Tirnestarnp: 3/28/2019 2:54:17 AM(UTC-7)
Source: Chrome


rnailingZipCodePrefix: 98109                            Tirnestarnp: 3/28/2019 2:54:17 AM(UTC-7)
Source: Chrome


rnailingZipCodePrefix: 98109                            Tirnestarnp: 3/28/2019 2:54:17 AM(UTC-7)
Source: Chrome


dobYear: 1991                                           Tirnestarnp: 3/28/2019 2:54:17 AM(UTC-7)
Source: Chrome


dobYear: 1991                                           Tirnestarnp: 3/28/2019 2:54:17 AM(UTC-7)
Source: Chrome


rciddleName: A                                          Tircestarcp: 3/28/2019 2:54:17 AM(UTC-7)
Source: Chrome


rniddleNarne: A                                         Tirnastarnp: 3/28/2019 2:54:17 AM(UTC-7)
Source: Chrome


arnailAddress: josephbaleda@mailinator.com              Tirnestarnp: 3/28/2019 2:54:17 AM(UTC-7)
Source: Chrome

ercailAddress: josephbaleda@mailinator.com              Tirnestarnp: 3/28/2019 2:54:17 AM(UTC-7)
Source: Chrome


rcailingAddress.line2:                                  Tirnestarnp: 3/28/2019 2:54:17 AM(UTC-7)
Source: Chrome


rcailingAddress.line2:                                  Tirnestarnp: 3/28/2019 2:54:17 AM(UTC-7)
Source: Chrome




                                                                           U.S.v. Paige Thompson
                                                                           CR19-159 RSL
                                                                           Plaintiff’s Exhibit No.     506
                                                                           Admi tted.
lastNarne: Baleda
                    Case 2:19-cr-00159-RSL Document 355-2 Tirnestarnp:
                                                            Filed 07/29/22             Page 12 of 168
                                                                       3/28/2019 2:54:17 AM(UTC-7)
Source: Chrome


lastNarne: Baleda                                                 Tirnestarnp: 3/28/2019 2:54:17 AM(UTC-7)
Source: Chrome


dobMonth:                                                         Tirnestarnp: 3/28/2019 2:54:17 AM(UTC-7)
Source: Chrome


dobMonth:                                                         Tirnestarnp: 3/28/2019 2:54:17 AM(UTC-7)
Source: Chrome

firstName: Joseph                                                 Timestamp: 3/28/2019 2:54:17 AM(UTC-7)
Source: Chrome


firstNarne: Joseph                                                Tirnestarnp: 3/28/2019 2:54:17 AM(UTC-7)
Source: Chrome


rnailingAddress.linel:                                            Tirnestarnp: 3/28/2019 2:54:17 AM(UTC-7)
Source: Chrome


rnailingAddress.linel:                                            Tirnestarnp: 3/28/2019 2:54:17 AM(UTC-7)
Source: Chrome


homePhoneNurcberAreaOode: 425                                     Tirnestarnp: 3/28/2019 2:54:17 AM(UTC-7)
Source: Chrome


homePhoneNurcberSuff~x:                                           Tirnestarnp: 3/28/2019 2:54:17 AM(UTC-7)
Source: Chrome


homePhoneNurnberPrefix:                                           Tirnestarnp: 3/28/2019 2:54:17 AM(UTC-7)
Source: Chrome


rnailingAddress.city: Seattle                                     Tirnestarnp: 3/28/2019 2:54:17 AM(UTC-7)
Source: Chrome




                                                                                                                2


                                                                                                             506-002
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 13 of 168




                      EXHIBIT 643
                                             Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 14 of 168




                                                                                                                                                                                                                  j151 ltr~-"tO r
                                                                                                                                                                                                                5.222 080
                                                                                                                                                                                                                ,,’.2 ~ ; ~,l’."..
                                                                                                                                                                                                                11,671,02...
                                                                                                                                                                                                                11,671o02,..
                                                                                                                                                                                                                45,880,~52,
                                                                                                                                                                                                                11,~.01o86___



                                                                                                                                                                                                                11.675,03...
                                                                    existing                   198-443        249 B 07/10t20"!9       le;18,,, 03/25/2,019 e9:44.,,,07t19t2019       06;24,..rwxrwx~x           7,253,808,..
                                                                    existing                   1,~=’-,.,~=0    315 60711012-019       10’19_.. 03/27/2,019 12:2,~,.._07/19/2019                                 11,66’8r78---
                                                                    existing                   185:443         315 B07/10/2019        1’0:19.,,03/27/2’019 12;20,,,07/19t2019        06:24...m,xn,,,xn~         11.668,78...
                                                                    existing                   1 _5680         169 B 07/10/2.019      18;19,,, 03/27/2,019 ’08:’0.1...07./19t2019    06:24,.. n,vv n,v’,,ee v   11,9.01,85,..
                                                                    existing                   156.44]        0.7 K1107/1012019       16:19...03f~71~’019 ’08:’01...07/19./2,’019                               1
                                                                                               ~              :249 S OUl’Or’r"~O’lg   1&1g..~.O,3.,~7,~’19
                                                                    existing                   1 ~’~0           2.1 B 07/’10/2.0!9    1’0,~1&,, 03~6~,0’19 ’05:’08...07/19t2019                                 7,29.3,612,..
                                                                    existing                   le9.44]          ,2.1 18.07/10,/2019   1’0:18...03=/2’5t’2,019                                                   7,2~,612...
                                                                    existing, already viewed   91:44~              O~ 8, 07/10/2019   1’0:19., 03,/27./2,0’19 1.1:27..,07,/19t2019   0~:24...rw~w,~x            11,~02,6,0...
                                                                    existing                   57:.6(.’       214 B 07/10,/2019       18:19,,, 03,/27,/2,0’19 17:19...07,/19t2019    O~:24,..nNx~wxnNx          11,659,54,..




Not Found
The req_uested URL ilalest/meta-data was not fmmd on this server,




                                                                                                                                U.S.v. Paige Thompson
                                                                                                                                CR19-159 RSL
                                                                                                                                Plaintiff’s Exhibit No.                              643
                                                                                                                                Admi tted
                                              Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 15 of 168




 ~99.813.36’.a0                                                     existing                   html      214 B07/10/2019    10’.19_,,03/28/2019 13S..~2,._(37/19/2019   06:24___~     11.675,02___
 ~99,81.15.147~                                                     existing                   147.443   1.8 KB07/10/2~!9   !0:!9,,,03~8~019 1~:09,,,e7119~2019         ~:24,..~      11,67&03,..
 Q99,81.1,198:~                                                     existing                   lqR44]    24980111012~19     10:18,,,0~12512019 0~:~,,,~7/19/2019        ~:24,--~X~    7.2~,8~,--
 ~99,81.1,185:80                                                    existing                   l~’~t]     315 B07/10/2019   10:19,,,03/27/2019 12:20,,,~7/19/2019       ~:24...~      11.6~,78...
 ~99,81.1,185:~3                                                    existing                   185 44;    315 B07/10/2019   10:19,,,03~7~019 12:20,,,~7/19/2019         ~:24,..~      11,6~,78,..
 ~99,81.1,156:80                                                    ~isting                    1%~(~      169807/10/Z019    lO:1g_,,OD/2712019 68:01,,,~7/19/2019       ~24___~x~x~   11.501r85---
 ~99,81.1,156:~3                                                    existing                   1% 44 ~   0.7 KB07/10/2019   10:19,,,03/27/2019 68:01,,,~7/19/2019       ~:24,.,~      11.301,85,.,
 ~99,81.0,229:~3                                                    existing                   229~43    249B07t10/20!9     10:!&,,03~7~019 80:19,,,~7/19/2019          ~;24,..~      7.393,575,..
 Q99.80.99.169:~                                                    ~isting                    16~][~      21 807/10/2019   10:18..,0~/2612019 66:08.,.~7/19/2019       ~:24...~      7.23&612...
 ~ 99,80.9~.169~43                                                  existing
 ~99,80.98.91:~3                                                    exisiing, already viewed   ~I:A,{~     0807/10/2~19 10:19,,,03~7~019 11:2!,,,~7/19/2019 ~:24_.~                   11,~02r~,..
,Q99.80.98.57:80                                                    ~isting                    ’q:4~=    ~14 807/10/2~19 10:19...0~/27/2019 17:19...67/19/~019 ~:24...~               11,669,~...




Forbidden
You don’t have pe~nissJo~ to access ~atesUmeta-data o~t tiffs




                                                                                                                                                                                  643-002
                                                                                     Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 16 of 168




I1~ X-Ways Forensics: 1 B52-nld 126-results - [1b52-md 126-1uksopen, Volu nle]                                                                                                                                                                                                         []        X

        Edit   Search    Navigation   View   Tools   Spedalist   Options   Window   Help                                                                                                                                                                                   20.4 SR 4 x64    -   ~     ~


                                                                              11352 md126 CapitalOne Vi...         lb52 md126 luksopen, Vol... I

                                                                              \horn e\erratic\aws_hacking_shit\aws_scan\ami id.tar                                                                                                                                                 49 files, 1 dir. P~
               .shuHer :3
                                                                                                                                                                                 ~Description               I~’Type          Size ~Created           ~Moditied             ~’Record ~hanged      ~, ^
                                                                              SCJ.. =      aws scan :3869.5132:,                                                                 existing                                    :   : 07/10t2019 10:05..05/29/2019 01:10...07/19/2019 06:22..~v~
               .snowrnix ¢                                                                                                                                                       existing, already viewed   tar            100 KB 07/10t2019 10:16..03/04/2019 08:57...07/19/2019 0@24.. r~

               .ssh   "~
                                                                              ¯ ~lPaxHeaders.234025 /-9                                                                          existing                                  4.3 KB
                                                                                                                                                                                 existing                   ascii_unix      293 B                   03/04/2019 05:26...
                                                                              ¯ ~j 100.27.45.251.meladala.443                                                                    existing, already viewed   ascii_unix      293 8                   03/04/2019 01:18...
                                                                                                                                                                                 existing                   ascii_unix      293 9                   03/04/2019 02:14...
                                                                              ¯ 13 13.234.55.245.meladala.80                                                                     existing                   ascii_unix      293 9                   03/04/2019 08:57,..                         ---
                                                                              ¯ 1318,130,66.41.meladate.8118                                                                     existing                   ascii_unix      293 3                   03/04/2019 01;55,..                         ---
               ,terraform,d
                                                                              ¯ ;~ 18,203,19.19.metadate.443                                                                     existing                   ascii_unix      293 9                   03/04/2019 01:06..                          ---
               .thumbnails
                                                                              J i J 1&204,247.252,metadata,443                                                                   existing                   ascii_unix      293 £                   0310412019 00:51..                          ---
               ,trevis                                                        / i 118,207,214.233,metadata,443                                                                   existing                   ascii_unix      293 B                   03/04/2019 06:43..                          ---
                                                                                                                                                                                 existing                   ascii_unix      293 B                   03/04/2019 0P.26...                         ---
                                                                                                                                                                                 existing                   ascii_unix      293 9                   03/04/2019 00’.51...                        ---
                                                                                                                                                                                                            ascii_unix      293 9                   03/04/2019 03’.21...                        ---

                                                                               J i118,292,146,106,metadata,443                                                                   existing                                   299 B                   03/04/2019 04:37..                          ---
                                                                              3 i118,232,178,225,metadata,443                                                                    existing                                   293 B                   03/04/2019 03’,53..                         ---
                                                                              ¯ T] 3,122,165,203,metadata,449                                                                    existing, already viewed   ascii_unix      299 B                   03104/2019 06:96,..                         ---
                Neechat
                                                                              J i ] 3,122,165,203,metadata,80                                                                    existing                                   293 9                   03/04/2019 06:35,..                         ---
                NetfishJmages                                                 J i ] 3,208,89,89,metadata,443                                                                     existing                                   293 9                   03/04/2019 00;39,..                         ---
                                                                              J 133,80,208,26,metadata,443                                                                       existing                                   293 9                   03/04/2019 06:42,..                         ---
                                                                              ¯ ;] 3,83,134,155,metadata,443                                                                     existing                   asc._unlx       293 B                   03/04/2019 08:46.,                          ---
               ,xdg_menu_cache
                                                                              ¯ i~ 3.91.207.167.metedate.443                                                                     existing                                   299 B                   03/04/2019 05’.57.,
                                                                              ¯ i~ 3.94.21233.metadata.443                                                                       existing                   ascii_unix      293 B                   03/04/2019 05:32,,.                         ---
                                                                              ¯ L~ 3.95.1£238.metadata.443                                                                       existing, already viewed   a s ell_Unix    293 B                   03/04/2019 04:06.,.                         ---

               1.19.04_StorCLl.~i~
                                                                              ¯ N 34.200.243.56.metadata.443                                                                     existing                                   293 B                   03/04/2019 03:04_                           ---
                                                                              ¯ ~j 34.201.2.209.metadata.443                                                                     existing                   aSCllUnlx       293 9                   03/04/2019 08:23_
         SD 8-07-14 MegaCLI.zip                                                                                                                                                  existing                   aSCllUnlx       307 B                   03/04/2019 07:47_
                                                                                                                                                                                                            ascii unix      293 B                   03/04/2019 0~,:58...
                                                                                                                                                                                                                                                                                                      v

                                                                                                                   @Preview    +~Details ]    I~Galle~   i~Calendarl   ~Legend    I   $   R~T~         ~1@~                                                                   Salaried: 1 tile (298 B)
                                                                               ami-id
                                                                               ami-launch-index
                                                                               ami-manifest-path
                                                                               block-device-mapping/
                                                                               events/
                                                                               hostname
                                                                               /am/
                                                                               identity-credentials/
                                                                               instance-action
                                                                               instance-id
                                                                               instance-type
                                                                               Iocal-hostname
                                                                               Iocal-ipv4
                 0 kgs :-

                                                                               metrics/
                                                                               network!
                                                                                ~lacement]
                                                                                )rofile
                                                                                )ublic-hostname
                                                                               public-ipv4
                                                                               public-keys/
                                                                               reservation-id
                                                                               security-groups
                                                                               services!




               ~ ~ scan.tar

           ¯ .~ AWSSCAN




                                                                                                                                                                                                                                                                           643-003
                                              Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 17 of 168




   llmils.conf                                                                    existing                 a~ii_u,,,     268 B~7/10/2019 10:16... 0vi/0~5/2(~ 19, 18:05,,,07/19/2019 1~:24,.,~’.’x~’.’x~’.’x 7,053,628...
, j ip- [anges.j:~.on                                                             exis[ing, aheadyviewed   json        197 K8 07 /10/2019 10:16... 0310112~ 19 I0:21,,,07/19/2019 06:24,..Crwxrwxrwx 2&332,368
¯ .1 i~!’obloxcted ~cke~sl uff.sh                                                 existing                  ,.h         4.4 K8 ~7/10/2019 10:17.., 03t14/2(~ 19 6&25,..O’f/19/:~619 06:24... Crwxrwxrwx 28.331.68C
     ~n               i:Rb       .’ - ~ , ~ls
../met~tUId4~S2.74.~O.204:443:ami-~
  ,/metadata_old4!3,83.242.189:443:am1-~
  ./me~ada~a_old4!52.210225.235:~3:ami-id
  Jmet~ata_old4/~.214,~,2~:443:am~d
  Jmetada~a_old4~34.205,178.115:~:am~d
  ./metadata_old4tl 8.209,225.93:80:ami-~
  .fmet~ata_old4/~.213,27,38:443:ami-~
  .~’metadata_old4Y52.198,76,216:80:<html><head><ihead><body><pre style="werd-wmp: break-wore: white-spa,’-e: pre-wrap:">ami-ld
  ./metadata_old4tl 3.1 ! 3,12,133:80:ami-id
  . fmetadata_old4/52.208,97,11:443:ami-id
  .lmetadata_old4!34.242 245.102:443:ami-ld
  ./metadatamOld4152.~6.111,16:80:ami-id
  .fmetadata_old4/54.162,202.98:443:ami-id
  .lmetadata_old4!18.208,2.12:443:a miold
  ,~’metadata_old4!52,90,137,8:80:ami-id
  . fmetadata_old4/13..57.7,185:~O:amHd
  ./metadata_old4/34.201,163.168: 443:a mi-i¢l
  . fmetadata_old4t34.197,128.100:443:ami-id
  Jmetadata_old4/35.154,251.51:443:ami-id
  ./metadata_old4/54.174,65,134:80:ami-id
  ./metadata_old4!13.228,149.238:443:ami-id
  . fmetadata_old4t100.25,211.127:80:ami-id
  .fmetadata_old4i52.31.8,36 : 443 : ami4d
  .fmetadata_old4.~184_72,248.27:443:ami-id
  ./metadata_old4,t100.26.57.181:80:ami-id
  .fmetadata_old4i52.64.104,205:443:ami4d
  .fmetadata_old4152.1~8.77_ ! 30:4~3:ami-id
  .tmetadata_old4i174.!29.17.248:443:ami-id
  .lmetadata_old4t54.201, 9.93: 443:ami.id
  ¯ ~’metadata_old4!52.59.195.80:4~3:ami-id
  . imetadata_old4Y52.18.89.222:443:ami-id
  .lmetadata_old4t52.202,171.240: 443:ami.id
  J’metadata_old4!52.52.171,1:443:ami-id
  .tmetadata_old4Y52.29.7,60:443:amHd
  ,/metadata_old4f34,204,166.231:443:ami-icl
  ./metadata_old4135.168.25.243:443:ami-id
  .imetadata_old4154.156,183. 45 :80:ami-id
  ./metadata_old4f3,8~.177.190:80: <html><head><;heacl><b~cly><~ style="word-wrap: breal<-word; whO-space: pre-wrap’~">ami4d
,,/metadatamOld4t54,72,195 241:443:ami-id

                                                                                                                                                                                                      643-004
 l--J m~Qa_me~adata.t~ ~
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 18 of 168




                           /13.233.67.216.~e~ada~a.~3:a~i-id
                           /23.22.9.23~.~e~ada~a.~O:a~i-id
                           /122.2~.23~.156.~e~ada~a.~3:a~i-id
                           /52.91.2.197.~ada~a.~S:a~-id
                           /52.199.11~.150.~e~ada~a.~OOl:a~i-id
                           /5~.162.202.99.~e~ada~a.90:a~1-id
                           /52.207.132.15.~e~ada~a.~3:a~i-id
                           /35.17~.95.137.~ada~a.90:a~i-id
                           /3~.2~5.96.161.~e~ada~a.9999:a~1-id
                           /52.20.131.53.~e~ada~a,~3:a~-id
                           /3~.213.27.33.~m~ada~a.~3:a~i-id
                           /5~.23~.l~l.176.~e~ada~a.~O:a~-id

                           /5~.21~.l.67.~m~ada~a.~3:a~-id
                           /5~.l~9.2~5.163.~e~ada~a.~3:a~i-id
                           /5~.252.210.~3.~m~ada~a.~l:a~i-id
                           /5~.21~.50.233.~mCadaCa.~3:a~-id
                           /3~.203.219.137.~ecadaca.~3:a~i-id
            /~m~ada~a old2 /5~.~9.239.139.~m~ada~a.312~:a~i-id
            /~m~ada~a old2 /3.iO~.~9.9~.~m~ada~a.~3:a~-id
            /~m~ada~a old2 /52.193.~2.153.~m~ada~a.312~:a~i-id
            /~m~ada~a old2 /35.161.229.177.~m~ada~a.312~:a~-id
                                                                      643-005
                                                                               Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 19 of 168




~ X-Weys Fc~rensics: 1B~2.-md125-re~ullt:s - [1 b~2.-md126-1uksopen, Volume]                                                                          --   I~   X




                                                                                                           existing, lagged




                                                                                                                                                     643-006
                                                                               Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 20 of 168




J=L X-Ways Forensicsl 1B~-md126-results- [1b~-md125-1uksopen, Volume]

                                                                                                                                                                                                                                                                                                 20.4 ~4    -   *   ~



FIJe   Edit
              , J ,shut’te~                                                                                                                                                                                                                                                   (’Oevi~ ~ype



               ~ .s~h
                                                                                                                                                   e~isting, tagged




                                                                                                                                                                                          27 B07]~#]2019 10;17,,,03/1~20~9


                                                                                                                                                                                         1,6 KB07/10/2019 t0:16.,.03/12t2010
                                                                ¯    11-5-19,nen443,1og                                                            e~istieg, tagged, already v,,, log   43,1 KBOT/l#/Z#19 10~&,,0~)1~201~

                                                                                                                                                                                        16,5 KB 07/10/2019




                                                                                                                                                                                                                                                                                             .Y~e~0ed: 1 fie [20.3 KB)
                                                                cud -fail -s -L -proxy4r~ecure .4m 5 ,..¢ormect.tiraeom 2 ~ 100.25 4&94:~ hop J]169.2~. 169.2~tesU~ta~e~nfo
                                                                cud -~il ~ -L --pro~pi~um ~ 5 - o#n~t.tim~ 2 -p~ ~,2~ 1~4 191:31~9 hHp:ff16g,2~,16~,~at~Vme~ata~a~in~


                                                                    "C~e" : "Succ~s".
                                                                    ~LasIU~a[ed" "201g-C~TO3:3C~Z",
                                                                    "l~fanceP~fileAm" : "am:~s:iam                 6:i~fance-p~
                                                                 "l~tanceProfileld" :
                                                                ~ud -~ail ~ -L ~m~-insecum ~ 5 ~onnect-~meou~ 2 -~xy 35 t64 t89 78:~ h~p:tt169.2~.1692~t~tesU~ta~a~inf¢
                                                                cud -~il ~ -L --p~xy4~um -m 5 -¢onn~t-tim~ 2 -pm~ ~,65.2545:3t28 http:#t69,2~,169,2~4et~Vmeta~ate4a~in~
                                                                cull ~fail -s -L -pro~y~ure ~ 5 -conn~t-tim~= 2 ~ 18,203,85,234:88~ hflp:ZZ169,2~,169,2~tesU~ta4a~info
                                                                cud -fall -s -L -ptoxy4~ure ~ 5 ~o~n~t-tim~= 2 ~m~ ~,1~,77J20:3128 hBp://169,2~,16g,2~/~tesU~ta~a~lnfo
                                                                cud -~il 4 -L --p~xpi~um -m 5 - onn~t-tim~ 2 -pm~ 13,!26 !~ 214:80 h~p://159.254.169.25~atesVme~at~iam~n~
                                                                cud =~il ~ -L -pmxy4~u~ -m 5 -conn~t-tim~ 2 ~ 52.87.83 135:~ h~p:#lGg.2~.189.2~tesU~ta~a~info




                                                                    }yIE~2yf:.: 2~2t~:~.~2~:~.:~E::
                                                                ’~L~                      ~o~ume   om   ~   ws ~     "      n 7-O~,-19~n,mN4 Jog                                                                               L,~ md tk~ht mol,t~e bu~o~e: to rot~, middle mouse b~o~ to mrrror, ",,d ~h $~t to flk~




                                                                                                                                                                                                                                                                                          643-007
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 21 of 168




                      EXHIBIT 806
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 22 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 23 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 24 of 168




                      EXHIBIT 807
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 25 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 26 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 27 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 28 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 29 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 30 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 31 of 168




                      EXHIBIT 808
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 32 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 33 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 34 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 35 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 36 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 37 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 38 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 39 of 168




                      EXHIBIT 809
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 40 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 41 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 42 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 43 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 44 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 45 of 168




                      EXHIBIT 810
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 46 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 47 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 48 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 49 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 50 of 168




                      EXHIBIT 811
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 51 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 52 of 168




                      EXHIBIT 812
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 53 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 54 of 168




                      EXHIBIT 901
                   Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 55 of 168

aws
Account number:
                                                              Amazon Web Services, Inc. Invoice
                                                               Email or talk to us about your AWS account or bill, visit aws.amazon.com/contact-us/
                    0924                                       Invoice Summar~
                                                               Invoice Number:                                                                        9485
Bill to Address:
                                                                                                    Please include this invoice number with your payment
Survox Inc.                                                    Invoice Date:                                                               April 3,2019
A]q-N: Danny Wong CC: Ken Keyes
11 AIRPORT BLVD                                               TOTAL AMOUNT DUE ON May 3 , 2019                                            $53,454.01
SOUTH SAN FRANCISCO, CA, 94080-6530,
us


This invoice is for the billing period March 1 - March 31 , 2019
Greetings from Amazon Web Services, we’re writing to provide you with an electronic invoice for your use of AWS services. Additional information
about your bill, individual service charge details, and your account history are available on the Account Activity Page.


 Summary
                                                                                                                                           $53,454.01
      Charges                                                                                                                                $53,454.91

      Credits                                                                                                                                     ($0.90)

      Tax *                                                                                                                                           $0.00

Total for this invoice                                                                                                                     $53,454.01



 Detail for Consolidated Bill
                                                                                                                                                  $0.00
      Charges                                                                                                                                         $0.00

      VAT **                                                                                                                                          $0.00

      GST                                                                                                                                             $0.00

      Estimated US sales tax to be collected                                                                                                          $0.00

      CT                                                                                                                                              $0.00

                                                                                                                                                $12.92
      Charges                                                                                                                                     $12.92

      VAT **                                                                                                                                          $0.00

      GST                                                                                                                                             $0.00

      Estimated US sales tax to be collected                                                                                                          $0.00

      CT                                                                                                                                              $0.00




                                                                                              Electronic funds transfer details:
                                                                                              Bank Name: Wells Fargo NA
                                                                                              Account Name: Amazon Web Services, Inc.
                                                                                              Bank Address:
                                                                                              420 Montgomery Street
** This is not a VAT or GST invoice                                                           San Francisco CA 94163
.... Please reference the tax invoice for a breakout of the Canadian taxes by type            Checking Account Number:           0227
                                                                                              ABA Routing Number:          0248
                                                                                              Wire Routing Number:         0248
                                                                                              SWIFT Code: WFBIUS6SXXX

                                                                                              or Mail payment to:
                                                                                              Amazon Web Services, Inc.
                                                                                              PO BOX 84023
                                                                                              Seattle, WA 98124-8423, US




                                                                                                        U.S.v. Paige Thompson
                                                                                                        CR19-159 RSL
                                                                                                        Plaintiff’s Exhibit No.                   901
                                                                                                        Admitted.
                  Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 56 of 168

                                                                                                                                   $54.48
      Charges                                                                                                                       $54.48

      VAT **                                                                                                                          $o.oo
      GST                                                                                                                             $o.oo
      Estimated US sales tax to be collected                                                                                          $o.oo
      CT                                                                                                                              $o.oo
                                                                                                                                    $0.16
      Charges                                                                                                                         $0.16

      VAT **                                                                                                                          $o.oo
      GST                                                                                                                             $o.oo
      Estimated US sales tax to be collected                                                                                          $o.oo
      CT                                                                                                                              $o.oo
                                                                                                                                 $283.22
      Charges                                                                                                                      $283.22

      VAT **                                                                                                                          $o.oo
      GST                                                                                                                             $o.oo
      Estimated US sales tax to be collected                                                                                          $o.oo
      CT                                                                                                                              $o.oo
                                                                                                                                $3,508.63
      Charges                                                                                                                     $3,508.63

      VAT **                                                                                                                          $o.oo
      GST                                                                                                                             $o.oo
      Estimated US sales tax to be collected                                                                                          $o.oo
      CT                                                                                                                              $o.oo
                                                                                                                               $49,222.85
      Charges                                                                                                                    $49,222.85

      VAT **                                                                                                                          $o.oo
      GST                                                                                                                             $o.oo
      Estimated US sales tax to be collected                                                                                          $o.oo
      CT                                                                                                                              $o.oo
                                                                                                                                 $181.66
      Charges                                                                                                                      $181.66

      VAT **                                                                                                                          $o.oo
      GST                                                                                                                             $o.oo
      Estimated US sales tax to be collected                                                                                          $o.oo




                                                                                     Electronic funds transfer details:
                                                                                     Bank Name: Wells Fargo NA
                                                                                     Account Name: Amazon Web Services, Inc.
                                                                                     Bank Address:
                                                                                     420 Montgomery Street
** This is not a VAT or GST invoice                                                  San Francisco CA 94163
.... Please reference the tax invoice for a breakout of the Canadian taxes by type   Checking Account Number:           0227
                                                                                     ABA Routing Number:          0248
                                                                                     Wire Routing Number:         0248
                                                                                     SWIFT Code: WFBIUS6SXXX

                                                                                     or Mail payment to:
                                                                                     Amazon Web Services, Inc.
                                                                                     PO BOX 84023
                                                                                     Seattle, WA 98124-8423, US




                                                                                                                                      905-002
                  Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 57 of 168
      CT                                                                                                                         $0,00

                                                                                                                               $13.66
      Charges                                                                                                                   $13.66

      VAT **                                                                                                                     $o.oo
      GST                                                                                                                        $o.oo
      Estimated US sales tax to be collected                                                                                     $o.oo
      CT                                                                                                                         $o.oo
                                                                                                                                $o.oo
      Charges                                                                                                                    $o.oo
      VAT **                                                                                                                     $o.oo
      GST                                                                                                                        $o.oo
      Estimated US sales tax to be collected                                                                                     $o.oo
      CT                                                                                                                         $o.oo
                                                                                                                                $5.51
      Charges                                                                                                                    $5.51
      VAT **                                                                                                                     $o.oo
      GST                                                                                                                        $o.oo
      Estimated US sales tax to be collected                                                                                     $o.oo
      CT                                                                                                                         $o.oo
                                                                                                                                $o.oo
      Charges                                                                                                                    $0.90
      Credits                                                                                                                   ($0.90)
      VAT **                                                                                                                     $o.oo
      GST                                                                                                                        $o.oo
      Estimated US sales tax to be collected                                                                                     $o.oo
      CT                                                                                                                         $o.oo
                                                                                                                                $2.80
      Charges                                                                                                                    $2.80
      VAT **                                                                                                                     $o.oo
      GST                                                                                                                        $o.oo
      Estimated US sales tax to be collected                                                                                     $o.oo
      CT                                                                                                                         $o.oo
                                                                                                                                $o.oo
      Charges                                                                                                                    $o.oo
      VAT **                                                                                                                     $o.oo




                                                                                     Electronic funds transfer details:
                                                                                     Bank Name: Wells Fargo NA
                                                                                     Account Name: Amazon Web Services, Inc.
                                                                                     Bank Address:
                                                                                     420 Montgomery Street
** This is not a VAT or GST invoice                                                  San Francisco CA 94163
.... Please reference the tax invoice for a breakout of the Canadian taxes by type   Checking Account Number:           0227
                                                                                     ABA Routing Number:          0248
                                                                                     Wire Routing Number:         0248
                                                                                     SWIFT Code: WFBIUS6SXXX

                                                                                     or Mail payment to:
                                                                                     Amazon Web Services, Inc.
                                                                                     PO BOX 84023
                                                                                     Seattle, WA 98124-8423, US




                                                                                                                                 901-003
                  Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 58 of 168
      GST                                                                                                                        $0.00

      Estimated US sales tax to be collected                                                                                     $o.oo
      CT                                                                                                                         $o.oo
                                                                                                                                $o.oo
      Charges                                                                                                                    $o.oo
      VAT **                                                                                                                     $o.oo
      GST                                                                                                                        $o.oo
      Estimated US sales tax to be collected                                                                                     $o.oo
      CT                                                                                                                         $o.oo
                                                                                                                               $90.00
      Charges                                                                                                                   $90.00
      VAT **                                                                                                                     $o.oo
      GST                                                                                                                        $o.oo
      Estimated US sales tax to be collected                                                                                     $o.oo
      CT                                                                                                                         $o.oo
                                                                                                                               $78.12
      Charges                                                                                                                   $78.12

      VAT **                                                                                                                     $o.oo
      GST                                                                                                                        $o.oo
      Estimated US sales tax to be collected                                                                                     $o.oo
      CT                                                                                                                         $o.oo




                                                                                     Electronic funds transfer details:
                                                                                     Bank Name: Wells Fargo NA
                                                                                     Account Name: Amazon Web Services, Inc.
                                                                                     Bank Address:
                                                                                     420 Montgomery Street
** This is not a VAT or GST invoice                                                  San Francisco CA 94163
.... Please reference the tax invoice for a breakout of the Canadian taxes by type   Checking Account Number:           0227
                                                                                     ABA Routing Number:          0248
                                                                                     Wire Routing Number:         0248
                                                                                     SWIFT Code: WFBIUS6SXXX

                                                                                     or Mail payment to:
                                                                                     Amazon Web Services, Inc.
                                                                                     PO BOX 84023
                                                                                     Seattle, WA 98124-8423, US




                                                                                                                                 90$-004
                    Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 59 of 168
Please remit payment to Amazon Web Services:

Preferred method of payment is by Electronic Funds Transfer (EFT). Please ensure to reference the invoice number in the descriptive text field of your
electronic funds transfer payment.


If you have any questions regarding payment for this invoice, please email aws-receivables-support@email.amazon.com


  Electronic funds transfer details:                                                  or Mail payment to:
  Bank Name: Wells Fargo NA                                                           Amazon Web Services, Inc.
  Account Name: Amazon Web Services, Inc.                                             PO BOX 84023
  Bank Address:                                                                       Seattle, WA 98124-8423, US
  420 Montgomery Street
  San Francisco CA 94163
  Checking Account Number:       0227
  ABA Routing Number:       0248
  Wire Routing Number:      0248
  SWIFT Code: WFBIUS6SXXX


All web services are sold by Amazon Web Services, Inc.


The above charges include charges incurred by your account as well as by all accounts you are responsible for through Consolidated Billing.


Thank you for using Amazon Web Services.


Sincerely,
The Amazon Web Services Team




This message was produced and distributed by Amazon Web Services, Inc., 410 Terry Avenue North, Seattle, Washington 98109-5210. AWS will not be bound by, and
specifically objects to, any term, condition or other provision which is different from or in addition to the provisions of the AWS Customer Agreement or AWS Enterprise
Agreement between AWS and you (whether or not it would materially alter such AWS Customer Agreement or AWS Enterprise Agreement) and which is submitted in any
order, receipt, acceptance, confirmation, correspondence or otherwise, unless AWS specifically agrees to such provision in a written instrument signed by AWS.




                                                                                                                                                                     901-005
                     Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 60 of 168


                                                                                                                                             aws
Payer account number

                       0924



LINKED ACCOUNT ALLOCATION
To learn more about how charges are allocated across linked accounts visit
https://d~cs.aws.amaz~n.c~m/awsacc~untbi~~ing/~atest/ab~utv2/c~n-bi~~-b~ended-rates.htm~



 Activity By Account
                                                                                                                                                               $49,345.85
       Charges                                                                                                                                                    $49,346.19

       Credits                                                                                                                                                          ($0.33)

       Estimated US sales tax to be collected                                                                                                                            $0.00

                                                                                                                                                                 $3,965.02
       Charges                                                                                                                                                      $3,965.37

       Credits                                                                                                                                                          ($0.35)

       Estimated US sales tax to be collected                                                                                                                            $0.00

                                                                                                                                                                    $143.18
       Charges                                                                                                                                                        $143.40

       Credits                                                                                                                                                          ($0.22)

       Estimated US sales tax to be collected                                                                                                                            $0.00

 Total allocated for this invoice                                                                                                                              $53,454.05

¯ There is a $0.04 difference between the sum of all linked account totals and your invoice total. This difference results from rounding of charges that are allocated from the
Consolidated Billing account invoice to individual linked accounts.




For line item details, please visit the Account Activity Page aws.amazon.com
* May include estimated US sales tax, VAT, GST and CT.
Amazon Web Services, Inc. foreign registration number is 00004
AWS, Inc. is a "Registered Foreign Supplier" under Japanese Consumption Tax Law and therefore AWS, Inc. is required to declare and pay consumption tax in respect of
this transaction (as a "Digital Service") to the Japan Tax Authority.
** This is not a VAT or GST invoice
.... Please reference the tax invoice for a breakout of the Canadian taxes by type




                                                                                                                                                                         901-006
                    Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 61 of 168

Payer account number

                      0924                                                                                                            aws

 Summary for Linked Account
                                                                                                                                                       $49,345.85
       Charges                                                                                                                                            $49,346.19

       Credits                                                                                                                                                 ($0.33)

       Estimated US sales tax to be collected                                                                                                                   $0.00
 Account                   0924 total allocated for this invoice                                                                                       $49,345.85



 Detail for Linked Account
                                                                                                                                                             $11.25
       Charges                                                                                                                                                 $11.25

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                              $0.00
       Charges                                                                                                                                                  $0.00

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                             $16.31
       Charges                                                                                                                                                 $16.31

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                              $0.16
       Charges                                                                                                                                                  $0.16

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                             $92.85
       Charges                                                                                                                                                 $92.85

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                        $3,508.63
       Charges                                                                                                                                             $3,508.63

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                             $48.53
       Charges                                                                                                                                                 $48.53

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                       $45,530.99
       Charges                                                                                                                                            $45,530.99

       Estimated US sales tax to be collected                                                                                                                   $0.00




For line item details, please visit the Account Activity Page aws.amazon.com
* May include estimated US sales tax, VAT, GST and CT.
Amazon Web Services, Inc. foreign registration number is 00004
AWS, Inc. is a "Registered Foreign Supplier" under Japanese Consumption Tax Law and therefore AWS, Inc. is required to declare and pay consumption tax in respect of
this transaction (as a "Digital Service") to the Japan Tax Authority.
** This is not a VAT or GST invoice
.... Please reference the tax invoice for a breakout of the Canadian taxes by type




                                                                                                                                                                901-007
                    Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 62 of 168

Payer account number

                      0924                                                                                                            aws

                                                                                                                                                             $13.66
       Charges                                                                                                                                                 $13.66

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                              $0.00
       Charges                                                                                                                                                  $0.00

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                              $5.51
       Charges                                                                                                                                                  $5.51

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                              $0.00
       Charges                                                                                                                                                  $0.33

       Credits                                                                                                                                                 ($0.33)

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                              $2.80
       Charges                                                                                                                                                  $2.80

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                              $0.00
       Charges                                                                                                                                                  $0.00

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                              $0.00
       Charges                                                                                                                                                  $0.00

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                             $37.05
       Charges                                                                                                                                                 $37.05

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                             $78.12
       Charges                                                                                                                                                 $78.12

       Estimated US sales tax to be collected                                                                                                                   $0.00




For line item details, please visit the Account Activity Page aws.amazon.com
* May include estimated US sales tax, VAT, GST and CT.
Amazon Web Services, Inc. foreign registration number is 00004
AWS, Inc. is a "Registered Foreign Supplier" under Japanese Consumption Tax Law and therefore AWS, Inc. is required to declare and pay consumption tax in respect of
this transaction (as a "Digital Service") to the Japan Tax Authority.
** This is not a VAT or GST invoice
.... Please reference the tax invoice for a breakout of the Canadian taxes by type




                                                                                                                                                                901-008
                    Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 63 of 168


                                                                                                                                      aws
Payer account number

                      0924



 Summary for Linked Account
                                                                                                                                                        $3,965.02
       Charges                                                                                                                                             $3,965.37

       Credits                                                                                                                                                 ($0.35)
       Estimated US sales tax to be collected                                                                                                                   $0.00
 Account                   1047 total allocated for this invoice                                                                                        $3,965.02



 Detail for Linked Account
                                                                                                                                                              $1.66
       Charges                                                                                                                                                  $1.66

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                              $0.00
       Charges                                                                                                                                                  $0.00

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                             $38.06
       Charges                                                                                                                                                 $38.06

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                              $0.00
       Charges                                                                                                                                                  $0.35

       Credits                                                                                                                                                 ($0.35)

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                           $134.51
       Charges                                                                                                                                               $134.51

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                        $3,604.70
       Charges                                                                                                                                             $3,604.70

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                           $133.13
       Charges                                                                                                                                               $133.13

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                              $0.00
       Charges                                                                                                                                                  $0.00




For line item details, please visit the Account Activity Page aws.amazon.com
* May include estimated US sales tax, VAT, GST and CT.
Amazon Web Services, Inc. foreign registration number is 00004
AWS, Inc. is a "Registered Foreign Supplier" under Japanese Consumption Tax Law and therefore AWS, Inc. is required to declare and pay consumption tax in respect of
this transaction (as a "Digital Service") to the Japan Tax Authority.
** This is not a VAT or GST invoice
.... Please reference the tax invoice for a breakout of the Canadian taxes by type




                                                                                                                                                                901-009
                    Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 64 of 168


                                                                                                                                      aws
Payer account number

                      0924


       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                             $52.95
       Charges                                                                                                                                                 $52.95

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                              $0.00
       Charges                                                                                                                                                  $0.00

       Estimated US sales tax to be collected                                                                                                                   $0.00




For line item details, please visit the Account Activity Page aws.amazon.com
* May include estimated US sales tax, VAT, GST and CT.
Amazon Web Services, Inc. foreign registration number is 00004
AWS, Inc. is a "Registered Foreign Supplier" under Japanese Consumption Tax Law and therefore AWS, Inc. is required to declare and pay consumption tax in respect of
this transaction (as a "Digital Service") to the Japan Tax Authority.
** This is not a VAT or GST invoice
.... Please reference the tax invoice for a breakout of the Canadian taxes by type


                                                                                                                                                                       10



                                                                                                                                                                901-010
                    Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 65 of 168


                                                                                                                                      aws
Payer account number

                      0924



 Summary for Linked Account
                                                                                                                                                           $143.18
       Charges                                                                                                                                               $143.40

       Credits                                                                                                                                                 ($0.22)

       Estimated US sales tax to be collected                                                                                                                   $0.00
 Account                   0039 total allocated for this invoice                                                                                           $143.18



 Detail for Linked Account
                                                                                                                                                              $0.01
       Charges                                                                                                                                                  $0.01

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                              $0.12
       Charges                                                                                                                                                  $0.12

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                              $0.00
       Charges                                                                                                                                                  $0.22

       Credits                                                                                                                                                 ($0.22)

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                             $55.87
       Charges                                                                                                                                                 $55.87

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                             $87.18
       Charges                                                                                                                                                 $87.18

       Estimated US sales tax to be collected                                                                                                                   $0.00




For line item details, please visit the Account Activity Page aws.amazon.com
* May include estimated US sales tax, VAT, GST and CT.
Amazon Web Services, Inc. foreign registration number is 00004
AWS, Inc. is a "Registered Foreign Supplier" under Japanese Consumption Tax Law and therefore AWS, Inc. is required to declare and pay consumption tax in respect of
this transaction (as a "Digital Service") to the Japan Tax Authority.
** This is not a VAT or GST invoice
.... Please reference the tax invoice for a breakout of the Canadian taxes by type


                                                                                                                                                                       11



                                                                                                                                                                901-011
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 66 of 168




                      EXHIBIT 902
                   Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 67 of 168

aws
Account number:
                                                              Amazon Web Services, Inc. Credit Memo
                                                               Email or talk to us about your AWS account or bill, visit aws.amazon.com/contact-us/
                    0924                                       Invoice Summary
                                                               Invoice Number:                                                                        4205
Bill to Address:
                                                               Invoice Date:                                                              April 25,2019
Survox Inc.                                                   Original Invoice Number:                                                                9485
Aqq-N: Danny Wong CC: Ken Keyes
11 AIRPORT BLVD                                               TOTAL AM O U NT                                                            ($40,042.64)
SOUTH SAN FRANCISCO, CA, 94080-6530,
us
This credit memo was not applied to an invoice. You must take action to apply this credit memo to your account balance. Please deduct the
amount of this credit memo from a future payment and send an email to aws-receivables-support@email.amazon.com with the remittance details
of your payment.



This invoice is for the billing period March 1 - March 31 , 2019
Greetings from Amazon Web Services, we’re writing to provide you with an electronic invoice for your use of AWS services. Additional information
about your bill, individual service charge details, and your account history are available on the Account Activity Page.


 Summary
                                                                                                                                         ($40,042.64)
      Charges                                                                                                                               ($40,042.64)

      Tax *                                                                                                                                           $0.00

Total for this invoice                                                                                                                   ($40,042.64)



 Detail for Consolidated Bill
                                                                                                                                         ($40,042.64)
      Charges                                                                                                                               ($40,042.64)

      VAT **                                                                                                                                          $0.00
      GST                                                                                                                                             $0.00
      Estimated US sales tax to be collected                                                                                                          $0.00
      CT                                                                                                                                              $0.00
                                                                                                                                         ($40,042.64)




                                                                                              Service Provider:
                                                                                              (Not to be used for payment remittance)
                                                                                              Amazon Web Services, Inc.
                                                                                              410 Terry Ave North
** This is not a VAT or GST invoice                                                           Seattle, WA 98109-5210, US
.... Please reference the tax invoice for a breakout of the Canadian taxes by type




                                                                                                        U.S.v. Paige Thompson
                                                                                                        CR19-159 RSL
                                                                                                        Plaintiff’s Exhibit No.                   902
                                                                                                        Admitted.
                    Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 68 of 168


                                                                                                                                      aws
Payer account number

                      0924



LINKED ACCOUNT ALLOCATION
To learn more about how charges are allocated across linked accounts visit
https://d~cs.aws.amaz~n.c~m/awsacc~untbi~~ing/~atest/ab~utv2/c~n-bi~~-b~ended-rates.htm~



 Activity By Account
                                                                                                                                                     ($40,042.64)
       Charges                                                                                                                                           ($40,042.64)

       Estimated US sales tax to be collected                                                                                                                   $0.00
 Total allocated for this invoice                                                                                                                    ($40,042.64)




For line item details, please visit the Account Activity Page aws.amazon.com
* May include estimated US sales tax, VAT, GST and CT.
Amazon Web Services, Inc. foreign registration number is 00004
AWS, Inc. is a "Registered Foreign Supplier" under Japanese Consumption Tax Law and therefore AWS, Inc. is required to declare and pay consumption tax in respect of
this transaction (as a "Digital Service") to the Japan Tax Authority.
** This is not a VAT or GST invoice
.... Please reference the tax invoice for a breakout of the Canadian taxes by type




                                                                                                                                                                902-002
                    Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 69 of 168


                                                                                                                                      aws
Payer account number

                      0924



 Summary for Linked Account
                                                                                                                                                     ($40,042.64)
       Charges                                                                                                                                           ($40,042.64)

       Estimated US sales tax to be collected                                                                                                                   $0.00
 Account                   0924 total allocated for this invoice                                                                                     ($40,042.64)



 Detail for Linked Account
                                                                                                                                                     ($40,042.64)
       Charges                                                                                                                                           ($40,042.64)

       Estimated US sales tax to be collected                                                                                                                   $0.00
                                                                                                                                                     ($40,042.64)




For line item details, please visit the Account Activity Page aws.amazon.com
* May include estimated US sales tax, VAT, GST and CT.
Amazon Web Services, Inc. foreign registration number is 00004
AWS, Inc. is a "Registered Foreign Supplier" under Japanese Consumption Tax Law and therefore AWS, Inc. is required to declare and pay consumption tax in respect of
this transaction (as a "Digital Service") to the Japan Tax Authority.
** This is not a VAT or GST invoice
.... Please reference the tax invoice for a breakout of the Canadian taxes by type




                                                                                                                                                                902-003
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 70 of 168




                      EXHIBIT 903
                   Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 71 of 168

aws
Account number:
                                                              Amazon Web Services, Inc. Credit Memo
                                                               Email or talk to us about your AWS account or bill, visit aws.amazon.com/contact-us/
                    0924                                       Invoice Summary
                                                               Invoice Number:                                                                        4401
Bill to Address:
                                                               Invoice Date:                                                              April 25,2019
Survox Inc.                                                   Original Invoice Number:                                                                9485
Aqq-N: Danny Wong CC: Ken Keyes
11 AIRPORT BLVD                                               TOTAL AMOUNT                                                                ($2,269.83)
SOUTH SAN FRANCISCO, CA, 94080-6530,
us
This credit memo was not applied to an invoice. You must take action to apply this credit memo to your account balance. Please deduct the
amount of this credit memo from a future payment and send an email to aws-receivables-support@email.amazon.com with the remittance details
of your payment.



This invoice is for the billing period March 1 - March 31 , 2019
Greetings from Amazon Web Services, we’re writing to provide you with an electronic invoice for your use of AWS services. Additional information
about your bill, individual service charge details, and your account history are available on the Account Activity Page.


 Summary
                                                                                                                                           ($2,269.83)
      Charges                                                                                                                                 ($2,269.83)

      Tax *                                                                                                                                           $0.00

Total for this invoice                                                                                                                     ($2,269.83)



 Detail for Consolidated Bill
                                                                                                                                           ($2,269.83)
      Charges                                                                                                                                 ($2,269.83)

      VAT **                                                                                                                                          $0.00
      GST                                                                                                                                             $0.00
      Estimated US sales tax to be collected                                                                                                          $0.00
      CT                                                                                                                                              $0.00
                                                                                                                                           ($2,269.83)




                                                                                              Service Provider:
                                                                                              (Not to be used for payment remittance)
                                                                                              Amazon Web Services, Inc.
                                                                                              410 Terry Ave North
** This is not a VAT or GST invoice                                                           Seattle, WA 98109-5210, US
.... Please reference the tax invoice for a breakout of the Canadian taxes by type




                                                                                                        U.S.v. Paige Thompson
                                                                                                        CR19-159 RSL
                                                                                                        Plaintiff’s Exhibit No.                   903
                                                                                                        Admitted.
                    Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 72 of 168


                                                                                                                                      aws
Payer account number

                      0924



LINKED ACCOUNT ALLOCATION
To learn more about how charges are allocated across linked accounts visit
https://d~cs.aws.amaz~n.c~m/awsacc~untbi~~ing/~atest/ab~utv2/c~n-bi~~-b~ended-rates.htm~



 Activity By Account
                                                                                                                                                       ($2,269.83)
       Charges                                                                                                                                            ($2,269.83)

       Estimated US sales tax to be collected                                                                                                                   $0.00
 Total allocated for this invoice                                                                                                                      ($2,269.83)




For line item details, please visit the Account Activity Page aws.amazon.com
* May include estimated US sales tax, VAT, GST and CT.
Amazon Web Services, Inc. foreign registration number is 00004
AWS, Inc. is a "Registered Foreign Supplier" under Japanese Consumption Tax Law and therefore AWS, Inc. is required to declare and pay consumption tax in respect of
this transaction (as a "Digital Service") to the Japan Tax Authority.
** This is not a VAT or GST invoice
.... Please reference the tax invoice for a breakout of the Canadian taxes by type




                                                                                                                                                                903-002
                    Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 73 of 168


                                                                                                                                      aws
Payer account number

                      0924



 Summary for Linked Account
                                                                                                                                                       ($2,269.83)
       Charges                                                                                                                                            ($2,269.83)

       Estimated US sales tax to be collected                                                                                                                   $0.00
 Account                   0924 total allocated for this invoice                                                                                       ($2,269.83)



 Detail for Linked Account
                                                                                                                                                       ($2,269.83)
       Charges                                                                                                                                            ($2,269.83)

       Estimated US sales tax to be collected                                                                                                                   $0.00
                                                                                                                                                       ($2,269.83)




For line item details, please visit the Account Activity Page aws.amazon.com
* May include estimated US sales tax, VAT, GST and CT.
Amazon Web Services, Inc. foreign registration number is 00004
AWS, Inc. is a "Registered Foreign Supplier" under Japanese Consumption Tax Law and therefore AWS, Inc. is required to declare and pay consumption tax in respect of
this transaction (as a "Digital Service") to the Japan Tax Authority.
** This is not a VAT or GST invoice
.... Please reference the tax invoice for a breakout of the Canadian taxes by type




                                                                                                                                                                903-003
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 74 of 168




                      EXHIBIT 904
                   Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 75 of 168

aws
Account number:
                                                              Amazon Web Services, Inc. Invoice
                                                               Email or talk to us about your AWS account or bill, visit aws.amazon.com/contact-us/
                    0924                                       Invoice Summar~
                                                               Invoice Number:                                                                        1717
Bill to Address:
                                                                                                    Please include this invoice number with your payment
Survox Inc.                                                    Invoice Date:                                                               May 3,2019
Aqq-N: Danny Wong CC: Ken Keyes
11 AIRPORT BLVD                                               TOTAL AMOUNT DUE ON June 2,2019                                               $2,119.69
SOUTH SAN FRANCISCO, CA, 94080-6530,
us


This invoice is for the billing period April 1 - April 30,2019
Greetings from Amazon Web Services, we’re writing to provide you with an electronic invoice for your use of AWS services. Additional information
about your bill, individual service charge details, and your account history are available on the Account Activity Page.


 Summary
                                                                                                                                            $2,119.69
      Charges                                                                                                                                $22,790.30

      Credits                                                                                                                               ($20,670.61)

      Tax *                                                                                                                                           $0.00

Total for this invoice                                                                                                                      $2,119.69



 Detail for Consolidated Bill
                                                                                                                                                $14.85
      Charges                                                                                                                                     $14.85

      VAT **                                                                                                                                          $0.00

      GST                                                                                                                                             $0.00

      Estimated US sales tax to be collected                                                                                                          $0.00

      CT                                                                                                                                              $0.00

                                                                                                                                                  $o.oo
      Charges                                                                                                                                         $0.00

      VAT **                                                                                                                                          $0.00

      GST                                                                                                                                             $0.00

      Estimated US sales tax to be collected                                                                                                          $0.00

      CT                                                                                                                                              $0.00




                                                                                              Electronic funds transfer details:
                                                                                              Bank Name: Wells Fargo NA
                                                                                              Account Name: Amazon Web Services, Inc.
                                                                                              Bank Address:
                                                                                              420 Montgomery Street
** This is not a VAT or GST invoice                                                           San Francisco CA 94163
.... Please reference the tax invoice for a breakout of the Canadian taxes by type            Checking Account Number:           0227
                                                                                              ABA Routing Number:          0248
                                                                                              Wire Routing Number:         0248
                                                                                              SWIFT Code: WFBIUS6SXXX

                                                                                              or Mail payment to:
                                                                                              Amazon Web Services, Inc.
                                                                                              PO BOX 84023
                                                                                              Seattle, WA 98124-8423, US




                                                                                                        U.S.v. Paige Thompson
                                                                                                        CR19-159 RSL
                                                                                                        Plaintiff’s Exhibit No.                   904
                                                                                                        Admitted.
                  Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 76 of 168

                                                                                                                                    $0.00
      Charges                                                                                                                        $o.oo
      VAT **                                                                                                                         $o.oo
      GST                                                                                                                            $o.oo
      Estimated US sales tax to be collected                                                                                         $o.oo
      CT                                                                                                                             $o.oo
                                                                                                                                  $26.24
      Charges                                                                                                                       $26.24

      VAT **                                                                                                                         $o.oo
      GST                                                                                                                            $o.oo
      Estimated US sales tax to be collected                                                                                         $o.oo
      CT                                                                                                                             $o.oo
                                                                                                                                    $o.17
      Charges                                                                                                                        $0.17

      VAT **                                                                                                                         $o.oo
      GST                                                                                                                            $o.oo
      Estimated US sales tax to be collected                                                                                         $o.oo
      CT                                                                                                                             $o.oo
                                                                                                                                 $274.88
      Charges                                                                                                                      $274.88

      VAT **                                                                                                                         $o.oo
      GST                                                                                                                            $o.oo
      Estimated US sales tax to be collected                                                                                         $o.oo
      CT                                                                                                                             $o.oo
                                                                                                                               $1,488.77
      Charges                                                                                                                    $1,488.77

      VAT **                                                                                                                         $o.oo
      GST                                                                                                                            $o.oo
      Estimated US sales tax to be collected                                                                                         $o.oo
      CT                                                                                                                             $o.oo
                                                                                                                                    $o.oo
      Charges                                                                                                                   $20,669.71

      Credits                                                                                                                  ($20,669.71)

      VAT **                                                                                                                         $o.oo
      GST                                                                                                                            $o.oo




                                                                                     Electronic funds transfer details:
                                                                                     Bank Name: Wells Fargo NA
                                                                                     Account Name: Amazon Web Services, Inc.
                                                                                     Bank Address:
                                                                                     420 Montgomery Street
** This is not a VAT or GST invoice                                                  San Francisco CA 94163
.... Please reference the tax invoice for a breakout of the Canadian taxes by type   Checking Account Number:           0227
                                                                                     ABA Routing Number:          0248
                                                                                     Wire Routing Number:         0248
                                                                                     SWIFT Code: WFBIUS6SXXX

                                                                                     or Mail payment to:
                                                                                     Amazon Web Services, Inc.
                                                                                     PO BOX 84023
                                                                                     Seattle, WA 98124-8423, US




                                                                                                                                     904-002
                  Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 77 of 168
      Estimated US sales tax to be collected                                                                                      $0.00

      CT                                                                                                                          $o.oo
                                                                                                                               $112.29
      Charges                                                                                                                   $112.29

      VAT **                                                                                                                      $o.oo
      GST                                                                                                                         $o.oo
      Estimated US sales tax to be collected                                                                                      $o.oo
      CT                                                                                                                          $o.oo
                                                                                                                                 $o.oo
      Charges                                                                                                                     $o.oo
      VAT **                                                                                                                      $o.oo
      GST                                                                                                                         $o.oo
      Estimated US sales tax to be collected                                                                                      $o.oo
      CT                                                                                                                          $o.oo
                                                                                                                                $12.85
      Charges                                                                                                                    $12.85

      VAT **                                                                                                                      $o.oo
      GST                                                                                                                         $o.oo
      Estimated US sales tax to be collected                                                                                      $o.oo
      CT                                                                                                                          $o.oo
                                                                                                                                 $3.14
      Charges                                                                                                                     $3.14

      VAT **                                                                                                                      $o.oo
      GST                                                                                                                         $o.oo
      Estimated US sales tax to be collected                                                                                      $o.oo
      CT                                                                                                                          $o.oo
                                                                                                                                 $o.oo
      Charges                                                                                                                     $0.90
      Credits                                                                                                                    ($0.90)
      VAT **                                                                                                                      $o.oo
      GST                                                                                                                         $o.oo
      Estimated US sales tax to be collected                                                                                      $o.oo
      CT                                                                                                                          $o.oo
                                                                                                                                 $2.80
      Charges                                                                                                                     $2.80




                                                                                     Electronic funds transfer details:
                                                                                     Bank Name: Wells Fargo NA
                                                                                     Account Name: Amazon Web Services, Inc.
                                                                                     Bank Address:
                                                                                     420 Montgomery Street
** This is not a VAT or GST invoice                                                  San Francisco CA 94163
.... Please reference the tax invoice for a breakout of the Canadian taxes by type   Checking Account Number:           0227
                                                                                     ABA Routing Number:          0248
                                                                                     Wire Routing Number:         0248
                                                                                     SWIFT Code: WFBIUS6SXXX

                                                                                     or Mail payment to:
                                                                                     Amazon Web Services, Inc.
                                                                                     PO BOX 84023
                                                                                     Seattle, WA 98124-8423, US




                                                                                                                                  904-003
                  Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 78 of 168
      VAT **                                                                                                                      $0.00

      GST                                                                                                                         $o.oo
      Estimated US sales tax to be collected                                                                                      $o.oo
      CT                                                                                                                          $o.oo
                                                                                                                                 $o.oo
      Charges                                                                                                                     $o.oo
      VAT **                                                                                                                      $o.oo
      GST                                                                                                                         $o.oo
      Estimated US sales tax to be collected                                                                                      $o.oo
      CT                                                                                                                          $o.oo
                                                                                                                                 $o.oo
      Charges                                                                                                                     $o.oo
      VAT **                                                                                                                      $o.oo
      GST                                                                                                                         $o.oo
      Estimated US sales tax to be collected                                                                                      $o.oo
      CT                                                                                                                          $o.oo
                                                                                                                               $108.10
      Charges                                                                                                                   $108.10

      VAT **                                                                                                                      $o.oo
      GST                                                                                                                         $o.oo
      Estimated US sales tax to be collected                                                                                      $o.oo
      CT                                                                                                                          $o.oo
                                                                                                                                $75.60
      Charges                                                                                                                    $75.60

      VAT **                                                                                                                      $o.oo
      GST                                                                                                                         $o.oo
      Estimated US sales tax to be collected                                                                                      $o.oo
      CT                                                                                                                          $o.oo




                                                                                     Electronic funds transfer details:
                                                                                     Bank Name: Wells Fargo NA
                                                                                     Account Name: Amazon Web Services, Inc.
                                                                                     Bank Address:
                                                                                     420 Montgomery Street
** This is not a VAT or GST invoice                                                  San Francisco CA 94163
.... Please reference the tax invoice for a breakout of the Canadian taxes by type   Checking Account Number:           0227
                                                                                     ABA Routing Number:          0248
                                                                                     Wire Routing Number:         0248
                                                                                     SWIFT Code: WFBIUS6SXXX

                                                                                     or Mail payment to:
                                                                                     Amazon Web Services, Inc.
                                                                                     PO BOX 84023
                                                                                     Seattle, WA 98124-8423, US




                                                                                                                                  904-004
                    Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 79 of 168
Please remit payment to Amazon Web Services:

Preferred method of payment is by Electronic Funds Transfer (EFT). Please ensure to reference the invoice number in the descriptive text field of your
electronic funds transfer payment.


If you have any questions regarding payment for this invoice, please email aws-receivables-support@email.amazon.com


  Electronic funds transfer details:                                                  or Mail payment to:
  Bank Name: Wells Fargo NA                                                           Amazon Web Services, Inc.
  Account Name: Amazon Web Services, Inc.                                             PO BOX 84023
  Bank Address:                                                                       Seattle, WA 98124-8423, US
  420 Montgomery Street
  San Francisco CA 94163
  Checking Account Number:       0227
  ABA Routing Number:       0248
  Wire Routing Number:      0248
  SWIFT Code: WFBIUS6SXXX


All web services are sold by Amazon Web Services, Inc.


The above charges include charges incurred by your account as well as by all accounts you are responsible for through Consolidated Billing.


Thank you for using Amazon Web Services.


Sincerely,
The Amazon Web Services Team




This message was produced and distributed by Amazon Web Services, Inc., 410 Terry Avenue North, Seattle, Washington 98109-5210. AWS will not be bound by, and
specifically objects to, any term, condition or other provision which is different from or in addition to the provisions of the AWS Customer Agreement or AWS Enterprise
Agreement between AWS and you (whether or not it would materially alter such AWS Customer Agreement or AWS Enterprise Agreement) and which is submitted in any
order, receipt, acceptance, confirmation, correspondence or otherwise, unless AWS specifically agrees to such provision in a written instrument signed by AWS.




                                                                                                                                                                     904-005
                    Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 80 of 168


                                                                                                                                      aws
Payer account number

                      0924



LINKED ACCOUNT ALLOCATION
To learn more about how charges are allocated across linked accounts visit
https://d~cs.aws.amaz~n.c~m/awsacc~untbi~~ing/~atest/ab~utv2/c~n-bi~~-b~ended-rates.htm~



 Activity By Account
                                                                                                                                                        $1,772.55
       Charges                                                                                                                                            $18,471.13

       Credits                                                                                                                                           ($16,698.57)

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                           $292.87
       Charges                                                                                                                                             $4,181.66

       Credits                                                                                                                                            ($3,888.78)

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                             $54.27
       Charges                                                                                                                                               $137.53

       Credits                                                                                                                                               ($83.26)

       Estimated US sales tax to be collected                                                                                                                   $0.00

 Total allocated for this invoice                                                                                                                       $2,119.69




For line item details, please visit the Account Activity Page aws.amazon.com
* May include estimated US sales tax, VAT, GST and CT.
Amazon Web Services, Inc. foreign registration number is 00004
AWS, Inc. is a "Registered Foreign Supplier" under Japanese Consumption Tax Law and therefore AWS, Inc. is required to declare and pay consumption tax in respect of
this transaction (as a "Digital Service") to the Japan Tax Authority.
** This is not a VAT or GST invoice
.... Please reference the tax invoice for a breakout of the Canadian taxes by type




                                                                                                                                                                904-006
                    Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 81 of 168

Payer account number

                      0924                                                                                                            aws

 Summary for Linked Account
                                                                                                                                                        $1,772.55
       Charges                                                                                                                                            $18,471.13

       Credits                                                                                                                                           ($16,698.57)

       Estimated US sales tax to be collected                                                                                                                   $0.00
 Account                   0924 total allocated for this invoice                                                                                        $1,772.55



 Detail for Linked Account
                                                                                                                                                              $0.00
       Charges                                                                                                                                                  $0.00

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                              $0.00
       Charges                                                                                                                                                  $0.00

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                             $13.18
       Charges                                                                                                                                                 $13.18

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                              $3.77
       Charges                                                                                                                                                  $3.77

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                              $0.17
       Charges                                                                                                                                                  $0.17

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                             $90.26
       Charges                                                                                                                                                 $90.26

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                        $1,488.77
       Charges                                                                                                                                             $1,488.77

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                              $0.00
       Charges                                                                                                                                            $16,698.23

       Credits                                                                                                                                           ($16,698.23)




For line item details, please visit the Account Activity Page aws.amazon.com
* May include estimated US sales tax, VAT, GST and CT.
Amazon Web Services, Inc. foreign registration number is 00004
AWS, Inc. is a "Registered Foreign Supplier" under Japanese Consumption Tax Law and therefore AWS, Inc. is required to declare and pay consumption tax in respect of
this transaction (as a "Digital Service") to the Japan Tax Authority.
** This is not a VAT or GST invoice
.... Please reference the tax invoice for a breakout of the Canadian taxes by type




                                                                                                                                                                904-007
                    Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 82 of 168

Payer account number

                      0924                                                                                                            aws

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                             $46.02
       Charges                                                                                                                                                 $46.02

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                              $3.14
       Charges                                                                                                                                                  $3.14

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                              $0.00
       Charges                                                                                                                                                  $0.00

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                             $12.85
       Charges                                                                                                                                                 $12.85

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                              $0.00
       Charges                                                                                                                                                  $0.34

       Credits                                                                                                                                                 ($0.34)

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                              $2.80
       Charges                                                                                                                                                  $2.80

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                              $0.00
       Charges                                                                                                                                                  $0.00

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                              $0.00
       Charges                                                                                                                                                  $0.00

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                             $36.00
       Charges                                                                                                                                                 $36.00

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                             $75.60
       Charges                                                                                                                                                 $75.60

       Estimated US sales tax to be collected                                                                                                                   $0.00




For line item details, please visit the Account Activity Page aws.amazon.com
* May include estimated US sales tax, VAT, GST and CT.
Amazon Web Services, Inc. foreign registration number is 00004
AWS, Inc. is a "Registered Foreign Supplier" under Japanese Consumption Tax Law and therefore AWS, Inc. is required to declare and pay consumption tax in respect of
this transaction (as a "Digital Service") to the Japan Tax Authority.
** This is not a VAT or GST invoice
.... Please reference the tax invoice for a breakout of the Canadian taxes by type




                                                                                                                                                                904-008
                    Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 83 of 168


                                                                                                                                      aws
Payer account number

                      0924



 Summary for Linked Account
                                                                                                                                                           $292.87
       Charges                                                                                                                                             $4,181.66

       Credits                                                                                                                                            ($3,888.78)

       Estimated US sales tax to be collected                                                                                                                   $0.00
 Account                   1047 total allocated for this invoice                                                                                           $292.87



 Detail for Linked Account
                                                                                                                                                              $1.66
       Charges                                                                                                                                                  $1.66

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                              $0.00
       Charges                                                                                                                                                  $0.00

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                             $22.36
       Charges                                                                                                                                                 $22.36

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                              $0.00
       Charges                                                                                                                                                  $0.34

       Credits                                                                                                                                                 ($0.34)

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                           $130.48
       Charges                                                                                                                                               $130.48

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                             $66.27
       Charges                                                                                                                                                 $66.27

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                              $0.00
       Charges                                                                                                                                             $3,888.44

       Credits                                                                                                                                            ($3,888.44)

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                             $72.10




For line item details, please visit the Account Activity Page aws.amazon.com
* May include estimated US sales tax, VAT, GST and CT.
Amazon Web Services, Inc. foreign registration number is 00004
AWS, Inc. is a "Registered Foreign Supplier" under Japanese Consumption Tax Law and therefore AWS, Inc. is required to declare and pay consumption tax in respect of
this transaction (as a "Digital Service") to the Japan Tax Authority.
** This is not a VAT or GST invoice
.... Please reference the tax invoice for a breakout of the Canadian taxes by type




                                                                                                                                                                904-009
                    Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 84 of 168


                                                                                                                                      aws
Payer account number

                      0924


       Charges                                                                                                                                                 $72.10

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                              $0.00
       Charges                                                                                                                                                  $0.00

       Estimated US sales tax to be collected                                                                                                                   $0.00




For line item details, please visit the Account Activity Page aws.amazon.com
* May include estimated US sales tax, VAT, GST and CT.
Amazon Web Services, Inc. foreign registration number is 00004
AWS, Inc. is a "Registered Foreign Supplier" under Japanese Consumption Tax Law and therefore AWS, Inc. is required to declare and pay consumption tax in respect of
this transaction (as a "Digital Service") to the Japan Tax Authority.
** This is not a VAT or GST invoice
.... Please reference the tax invoice for a breakout of the Canadian taxes by type


                                                                                                                                                                       10



                                                                                                                                                                904-010
                    Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 85 of 168


                                                                                                                                      aws
Payer account number

                      0924



 Summary for Linked Account
                                                                                                                                                             $54.27
       Charges                                                                                                                                               $137.53

       Credits                                                                                                                                               ($83.26)

       Estimated US sales tax to be collected                                                                                                                   $0.00
 Account                   0039 total allocated for this invoice                                                                                             $54.27



 Detail for Linked Account
                                                                                                                                                              $0.01
       Charges                                                                                                                                                  $0.01

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                              $0.12
       Charges                                                                                                                                                  $0.12

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                              $0.00
       Charges                                                                                                                                                  $0.22

       Credits                                                                                                                                                 ($0.22)

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                             $54.14
       Charges                                                                                                                                                 $54.14

       Estimated US sales tax to be collected                                                                                                                   $0.00

                                                                                                                                                              $0.00
       Charges                                                                                                                                                 $83.04

       Credits                                                                                                                                               ($83.04)

       Estimated US sales tax to be collected                                                                                                                   $0.00




For line item details, please visit the Account Activity Page aws.amazon.com
* May include estimated US sales tax, VAT, GST and CT.
Amazon Web Services, Inc. foreign registration number is 00004
AWS, Inc. is a "Registered Foreign Supplier" under Japanese Consumption Tax Law and therefore AWS, Inc. is required to declare and pay consumption tax in respect of
this transaction (as a "Digital Service") to the Japan Tax Authority.
** This is not a VAT or GST invoice
.... Please reference the tax invoice for a breakout of the Canadian taxes by type


                                                                                                                                                                       11



                                                                                                                                                                904-011
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 86 of 168




                      EXHIBIT 914
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 87 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 88 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 89 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 90 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 91 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 92 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 93 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 94 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 95 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 96 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 97 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 98 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 99 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 100 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 101 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 102 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 103 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 104 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 105 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 106 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 107 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 108 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 109 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 110 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 111 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 112 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 113 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 114 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 115 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 116 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 117 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 118 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 119 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 120 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 121 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 122 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 123 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 124 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 125 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 126 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 127 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 128 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 129 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 130 of 168




                       EXHIBIT 915
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 131 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 132 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 133 of 168




                       EXHIBIT 916
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 134 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 135 of 168




                      EXHIBIT 917
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 136 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 137 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 138 of 168




                      EXHIBIT 918
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 139 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 140 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 141 of 168




                      EXHIBIT 919
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 142 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 143 of 168




                      EXHIBIT 920
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 144 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 145 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 146 of 168




                      EXHIBIT 921
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 147 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 148 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 149 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 150 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 151 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 152 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 153 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 154 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 155 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 156 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 157 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 158 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 159 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 160 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 161 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 162 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 163 of 168




                      EXHIBIT 922
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 164 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 165 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 166 of 168
Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 167 of 168




                      EXHIBIT 956
                 Case 2:19-cr-00159-RSL Document 355-2 Filed 07/29/22 Page 168 of 168



    Company                   Amazon Account No.            I P Add ress                  IAM Role



    Capital One                           9784             34.234.188.25



                                                            54.77.46.101
Apperian (DisitaI.Ai)                     3769
                                                           54.198.107.105



      42 Lines                            6483              18.235.8.209


 Survox (Enghouse)                        0924              35.161.43.11


     Waitrainer                           3625              13.52.44.117


     A T Works                            4197             13.113.12.133


 Powersquare India                        7507             18.208.62.195



Hewlett-Packard Inc.                      9728              54.193.62.96



     Vodafone                             1427             63.34.213.125




                                                                            U.S.v. Paige Thompson
                                                                            CR19-159 RSL
                                                                            Plaintiff’s Exhibit No. 956
                                                                            Admitted.
